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                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

AMERICAN PETROLEUM               )
INSTITUTE, et al.,               )
                                 )
                    Petitioners, )
                                 )
v.                               ) Case No. 22-1222
                                 )
UNITED STATES DEPARTMENT OF )
THE INTERIOR, et al.,            )
                                 )
                   Respondents.  )
                                 )

                        ABEYANCE STATUS REPORT

      In April 2023, this Court granted the parties’ Joint Motion for an Abeyance.

Order, ECF # 1992847 (Apr. 3, 2023). The Court held the case in abeyance

pending completion of proceedings by Respondents (Interior) to develop the next

five-year program for oil and gas leasing on the Outer Continental Shelf (the Five-

Year Program). And the Court directed Interior to file status reports at 60-day

intervals beginning June 2, 2023. Thus, Interior submits this report on its progress

developing the Five-Year Program.

      1.     Interior continues to take the necessary steps to prepare the next Five-

Year Program. In March 2023, the U.S. Energy Information Administration

released the Annual Energy Outlook for 2023. Interior is using modeling

information from the Energy Outlook for the analyses needed to complete the
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fourth of five steps in developing the Five-Year Program (publishing the Proposed

Final Program).

      2.    Interior remains on track to complete and publish the Proposed Final

Program in September 2023. And Interior continues to expect that the Secretary of

the Interior will approve the next Five-Year Program in December 2023.

      Interior will submit another status report in 60 days.

                                       Respectfully submitted,

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July 31, 2023
DJ 90-13-8-16882




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                      CERTIFICATE OF COMPLIANCE

      1.    This document is not a brief or motion and therefore is not subject to

the type-volume limits of Federal Rules of Appellate Procedure 27(d)(1)(E)(2) and

32(a)(7)(B). Excluding the cover, signature block, and certificate this document

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                                         /s/ Justin D. Heminger
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